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   9                        UNITED STATES DISTRICT COURT
  10                      CENTRAL DISTRICT OF CALIFORNIA
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  12    BKK WORKING GROUP; et al.;             Case No. CV 18-5810-MWF (PLAx)
  13                      Plaintiffs,          Hon. Michael W. Fitzgerald
  14                vs.                        ORDER GRANTING
                                               PLAINTIFFS’ MOTION TO LIFT
  15    1700 SANTA FE LTD; et al.,             THE STAY FOR THE LIMITED
                                               PURPOSE OF AMENDING
  16                      Defendants.          PLAINTIFFS’ FIRST AMENDED
                                               COMPLAINT; FOR AN ORDER
  17                                           GRANTING LEAVE TO AMEND
                                               PLAINTIFFS’ FIRST AMENDED
  18                                           COMPLAINT; AND FOR AN
                                               ORDER AMENDING THE
  19                                           OPERATIVE STAY ORDER
                                               (DOCKET NO. 43)
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   1         This matter comes before the Court on Plaintiffs’ Motion to Lift the Stay for
   2   the Limited Purpose of Amending Plaintiffs’ First Amended Complaint; for an
   3   Order Granting Leave to Amend Plaintiffs First Amended Complaint; and for an
   4   Order Amending the Operative Stay Order (“Motion”), filed concurrently herewith.
   5         Having considered Plaintiffs’ Motion, the Court hereby GRANTS the
   6   Motion as follows:
   7         1.     The current Stay is lifted for the limited purpose of amending
   8   Plaintiffs’ First Amended Complaint;
   9         2.     The operative Stay Order is amended to allow Plaintiffs to add, as
  10   Defendants, parties who refuse to enter into tolling agreements or further tolling
  11   agreements; and
  12         3.     Pursuant to Federal Rule of Civil Procedure 15, Plaintiffs are granted
  13   leave to amend their First Amended Complaint for the exclusive purposes outlined
  14   in their Motion. Plaintiffs may file their Proposed Second Amended Complaint, as
  15   attached as Exhibit 1 to the Declaration of Denise G. Fellers in Support of
  16   Plaintiffs’ Motion, within 30 days of this Order.
  17         IT IS SO ORDERED.
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  19   Dated: May 4, 2021                     _______________________________
  20                                          MICHAEL W. FITZGERALD
                                              United States District Judge
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                                                    ORDER GRANTING PLS.’ MOT. TO LIFT STAY
                                               1       TO AM. 1ST AM. COMPL. & TO AM. STAY
                                                               ORDER; CV 18-5810-MWF (PLAx)
